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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              FT. WORTH DIVISION
                      _____________________________________


U.S. PASTOR COUNCIL, et al.,

      Plaintiffs,                                    Case No. 4:18-cv-00824-O

v.

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, et al.,

      Defendants.


     MOTION FOR LEAVE TO FILE JOINT STATUS REPORT OUT OF TIME

        Defendants hereby respectfully request that the Court accept the Joint Status

Report attached herewith out of time, on this date, March 12, 2019. Undersigned counsel

regrets any inconvenience caused to the Court by this belated filing, and apologizes for

failing to meet the schedule set by the Court. This error occurred when undersigned

counsel erroneously recorded the task as completed on his “to-do” list upon completing

the preparation of the Joint Status Report (a task that counsel for the parties had agreed

would be assigned to him), rather than upon filing of the document, as should have

occurred.

        Undersigned counsel acknowledges that this Court takes the deadlines it sets

seriously and will ensure that subsequent filings are timely.

        A proposed order, and the Joint Status Report for which leave to file is sought, are

attached.



Dated: March 12, 2019                         Respectfully submitted,
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                                   JOSEPH H. HUNT
                                   Assistant Attorney General

                                   JOSHUA GARDNER
                                   Senior Litigation Counsel


                                   /s/
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                          CERTIFICATE OF CONFERENCE



       Pursuant to Local Civil Rule 7.1(b), counsel for Defendants has conferred with

counsel for Plaintiffs regarding the relief sought in this motion, and Plaintiffs do not

oppose the requested relief.


                                                      ___/s/ Eric J. Soskin ____________
                                                      Eric J. Soskin
                                                      Senior Trial Counsel
